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UNITED STATES DISTRICT COURT

DISTRICT OF SOUTH DAKOTA NOV O 4 2004
SOUTHERN DIVISION —
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THOMAS A. DASCHLE,
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Piaintiff, civ. 04. Lf:
yV,
JOHN THUNE,

SOUTH DAKOTA REPUBLICAN PARTY,
and JOHN DOES 1-200,

Defendants.

 

MEMORANDUM IN SUPPORT OF
COMPLAINT TO ENFORCE COMPLIANCE WITH CONSENT ORDER

AND WITH THE LAWS AND CONSTITUTION OF THE UNITED STATES
AND FOR EMERGENCY RELIEF

Native Americans have never voted in the same numbers as non-Native Americans.
AS a result, Native Americans have less political power than other groups of people have,
and many remain mired in poverty. Native Americans in South Dakota and nationally vote
heavily Democratic.

Plaintiff's campaign helped many Native Americans register to vote. The day
before Election Day, defendants have shown their hand with unlawful efforts to harass,
intimidate, and discourage Native American voters. Immediate remedy -- before the polls

open tomorrow— is required to avoid further unlawful damage io plaintiff.

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The background, factual basis, and legal basis for this action, and the need for
immediate relief, are set out in the Complaint. The RNC’s history of similar conduct over
the past 20 years, and this year in other states, is set out in the Appendix. Such efforts are
particularly effective against Native Americans, many of whom will withdraw in the face
of controversy rather than aggressively challenge it.

F.R.Civ.P. 65 authorizes issuance of a temporary restraining order. "The standard
for issuance of an injunction requires consideration of the threat of irreparable harm to the
movant, the balance between this harm and the harm created by granting the injunction,
the likelihood of success on the merits, and the public interest, The party seeking the
injunction has the burden of establishing these factors." Davis v. Francis Howell Sch.
Dist., 104 F.3d 204, 205-06 (8" Cir. 1997) (citations omitted), "In balancing the equities
no single factor is determinative." Dataphase Systems. Inc. v. C. L. Systems, 640 F.2d
109, 113 (8" Cir. 1981) (en banc).

The threat of irreparable harm is overwhelming. No harm will occur by granting
the injunction. The likelihood of success on the merits is overwhelming. The public
interest strongly opposes unlawful efforts to discourage Native Americans from voting.
Balancing these factors, all require that immediate relief be granted,

The Fourteenth Amendment requires equal protection of the laws. The Fifteenth
Amendment provides that "The right of citizens of the United States to vote shall not be

denied or abridged by . . . any state on account of race," and provides that Congress may

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enforce this provision by legislation.

Title 42 U.S.C. § 1973i(b) provides: "No person, whether acting under color of law
or otherwise, shall intimidate, threaten, or coerce, or attempt to intimidate, threaten, or
coerce any person for voting or attempting to voie, or intimidate, threaten, or coerce, or
attempt to intimidate, threaten, or coerce any person for urging or aiding any persons to
vote or attempt to vote, .. ."

Title 42 U.S.C. § 1971(a)(1) provides: "All citizens of the United States who are
otherwise qualified by law to vote at any election by the people in any State, Territory,
district, county, city, parish, township, school district, municipality, or other territorial
subdivision, shall be entitled and allowed to vote at all such elections, without distinction
of race, color, or previous condition of servitude; any constitution, law, custom, usage,
or regulation of any State or Territory, or by or under its authority, to the contrary
notwithstanding."

Title 42 U.S.C. § 1983 protects against discrimination by persons acting under color
of state law. Title 42 U.S.C. § 1985(3) prohibits two or more people, whether or not
acting under color of law, from acting jointly to deprive anyone of the equal protection of
the laws.

The Court should grant the relief requested, and should do so immediately, in order
to preserve these constitutional and statutory guarantees, and the voters they are intended

to protect, from further abuse by defendants.

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Dated: November 1, 2004

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Respectfully submitted,

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